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                IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                     CENTRAL DIVISION




 UNITED STATES OF AMERICA
           Plaintiff,                                   MEMORANDUM DECISION AND
                                                        ORDER ON MOTION FOR
                                                        ACQUITTAL AND MOTION FOR
                                                        NEW TRIAL


                   vs.


 KATHRYN V. ERICKSON and GILMAN N.                      Case No. 2:05-cr-521
 MITCHELL
           Defendants,




       Defendants, Kathryn V. Erickson and Gilman N. Mitchell, were charged in a three-count

Superseding Indictment1 with violating 18 U.S.C. § 1503. This matter came before the Court for

a jury trial on January 22, 2007, through January 26, 2007. At the close of the government’s

case, Defendant made a Motion for Judgment of Acquittal pursuant to Fed.R.Crim.P. 29, which

was denied by the Court. The jury returned a verdict of guilty on all three counts against both

Defendants. Defendants have now filed a Motion for Judgment of Acquittal and a Motion for a

New Trial.2 Additionally, Defendant Erickson has filed a pro se Motion for Dismissal, Acquittal,

       1
           Docket No. 62.
       2
           Docket No. 116.


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and in the Alternative, a New Trial, alleging ineffective assistance of counsel, violation of

constitutional rights, suppression of material evidence, suppression of exculpatory evidence, and

suppression of impeachment evidence.3

                         I. MOTION FOR JUDGMENT OF ACQUITTAL

A.     STANDARD

       Fed.R.Crim.P. 29(a) provides:

       After the government closes its evidence or after the close of all the evidence, the
       court on the defendant’s motion must enter a judgment of acquittal of any offense
       for which the evidence is insufficient to sustain a conviction. The Court may on
       its own consider whether the evidence is insufficient to sustain a conviction. If
       the court denies a motion for a judgment of acquittal at the close of the
       government’s evidence, the defendant may offer evidence without having
       reserved the right to do so.

Subsection (b) allows the Court to reserve its decision on the motion provided that the court

“decide the motion on the basis of the evidence at the time the ruling was reserved.” Subsection

(c) permits a Defendant to move for a judgment of acquittal, or renew such a motion, within 7

days after a guilty verdict. If the Court enters a judgment of acquittal after a guilty verdict, the

Court must also conditionally determine whether any motion for a new trial should be granted if

the judgment of acquittal is later vacated or reversed.4

B.     DISCUSSION

       1.        Sufficiency of the Evidence

       Defendants argue that the government presented insufficient evidence to meet the

elements of 18 U.S.C. § 1503. In reviewing a sufficiency claim, the Court must “determine



       3
           Docket No. 132.
       4
           Fed.R.Crim.P. 29(d)(1).

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whether ‘viewing the evidence in the light most favorable to the Government, any rational trier

of fact could have found the defendant guilty of the crime beyond a reasonable doubt.’”5 The

Court does “not weigh conflicting evidence nor consider the credibility of witnesses.”6 Rather,

the Court determines “‘whether [the] evidence, if believed, would establish each element of the

crime.’”7 If the government has met this standard, the Court is to defer to the jury’s verdict.8

       The essential elements of 18 U.S.C. § 1503 are: (1) that there was a proceeding pending

before a federal grand jury; (2) that the defendants knew of the pending judicial proceeding and

influence, obstructed, impeded, or endeavored to influence, obstruct, impede the due

administration of justice in that proceeding; and (3) that the defendants’ acts were done

“corruptly,” that is, that the defendants acted knowingly and dishonestly, with the specific intent

to subvert or undermine the due administration of justice.9 Defendants argue that the government

failed to show that the acts were done “corruptly.”

       The Tenth Circuit has stated that the term corruptly, as used in 18 U.S.C. § 1503 “‘really

means unlawful.’”10 “Thus, in the context of the obstruction of justice statute, ‘an endeavor . . .

to influence, obstruct or impede the due administration of justice is per se unlawful and is



       5
         United States v. Delgado-Uribe, 363 F.3d 1077, 1081 (10th Cir. 2004) (quoting United
States v. Vallo, 238 F.3d 1242, 1247 (10th Cir. 2001)).
       6
           Id.
       7
           Id. (quoting Vallo, 238 F.3d at 1247).
       8
           Vallo, 238 F.3d at 1247.
       9
           Docket No. 109, Instruction No. 19.
       10
        United States v. Bailey, 72 F.3d 138, *3 (10th Cir. 1995) (quoting United States v. Ogle,
613 F.2d 233, 238 (10th Cir. 1979), cert. denied, 449 U.S. 825 (1980)).

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tantamount to doing the act corruptly.’”11 The jury was instructed that the government must

prove beyond a reasonable doubt that “the defendants’ acts were done ‘corruptly,’ that is, the

defendants acted knowingly and dishonestly, with the specific intent to subvert or undermine the

due administration of justice.”12

       The evidence shows that Cheri McCurdy witnessed Defendant Erickson prepare a change

order and saw Defendants Erickson and Mitchell sign that change order, which was back dated.

Additionally, McCurdy discovered two other change forms that had been back dated which were

included with the materials sent to the grand jury by Defendant Erickson. It is undisputed that

Defendants were aware of grand jury proceedings and that these materials would be sent to the

grand jury. The jury could draw a reasonable inference that the documents were created “with

the specific intent to subvert or undermine the due administration of justice.” Viewing the

evidence in the light most favorable to the Government, there is sufficient evidence to support

the jury’s conclusion.

       Defendants also argue, under a case from the Ninth Circuit, that an obstruction charge

cannot stand unless the documents produced to a grand jury are relevant to the grand jury’s

investigation.13 The grand jury investigation concerned irregularities in the contract process and

the operations of the Uintah County Road Department and the Uintah County Special Services

District. The subpoena requested copies of all project contracts and any other documents relative

to all transactions, including those between Uintah County Special Services District and Gil



       11
            Id. (quoting Ogle, 613 F.2d at 238).
       12
            Docket No. 109, Instruction No. 19.
       13
            United States v. Ryan, 455 F.2d 728 (9th Cir. 1971).

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Mitchell. The documents requested by and produced to the grand jury fall directly within the

scope of the grand jury’s investigation and were relevant to that investigation. Therefore,

Defendants’ argument on this point fails.

       2.          Evidence Concerning the Investigation

       Defendants argue that they should have been permitted to introduce evidence concerning

the grand jury investigation. The Court specifically addressed this issue in its Order on Pending

Trial-Related Motions and Issues.14 The Court found that “most of what the government has

represented that it intends to present as evidence at trial on [the investigation] issue to be

irrelevant, and the Court will not allow it to be presented. Likewise, Defendant will also not be

allowed to present similar extraneous evidence.”15 The Court further found that evidence

concerning the investigation would be more prejudicial than probative.16 As a result, the Court

decided to “confine the admissible evidence in this case to the elements of the Superseding

Indictment, and [did] not allow irrelevant evidence regarding the events leading up to the

investigation or the failure of the investigation to result in charging other criminal offenses

against Defendants.”17 The Court stated that it would permit the jury to be made aware of the

existence of the investigation and requested the parties reach a stipulation on how to best present

this evidence to the jury.

       For the same reasons stated in its previous Order, the Court will deny Defendants’



       14
            Docket No. 94.
       15
            Id. at 4.
       16
            Id. at 5.
       17
            Id.

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Motion for Judgment of Acquittal on this ground. The evidence concerning the investigation and

the failure of the investigation to result in further criminal charges is irrelevant and is more

prejudicial than probative under Rule 403 of the Federal Rules of Evidence.

       3.      Comments by the Court

       Defendants argue that they did not receive a fair trial as a result of various comments

made by the Court during trial. Defendants identify six incidents: (1) the Court entertaining an

objection during Defendants’ closing argument; (2) the Court’s reference to “opening the door;”

(3) the Court’s comments to defense counsel about speaking slower; (4) the Court stating that

defense counsel’s argument during closing was inappropriate; (5) instructing the jury that

counsel does not provide evidence; and (6) stating “I agree” in response to an objection.

       Defendants primary argument concerns the conduct of the government and the Court

during closing arguments. During Defendants’ closing arguments, the Court entertained

objections from the government. After one objection, the Court gave the jury an instruction that

counsel does not supply evidence and that it was the jury’s recollection that counts. After

another objection, the Court stated “I would agree” in response to the objection and gave the jury

the same instruction. After another objection, the Court stated that defense counsel’s actions

were “very inappropriate.” Additionally, the Court advised defense counsel to speak slower

during closing arguments. Defendants argue that these comments deprived them of a fair trial.

       “A trial judge ‘must be a disinterested and objective participant in the proceedings’ and

‘must not create an appearance of partiality by supporting one of the parties.’”18 “However,



       18
         United States v. Deters, 184 F.3d 1253, 1256 (10th Cir. 1999) (quoting United States v.
Logan, 998 F.2d 1025, 1028–29 (D.C. Cir. 1993) (internal quotation marks and citation
omitted)).

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‘[t]he adversary nature of criminal proceedings does not prohibit the trial judge from taking

proper steps to aid and assist the jury in the truth finding quest leading to the proper

determination of guilt or innocence.’”19 In reviewing Defendants’ claims, the Court’s “task is not

to ‘determine whether the trial judge’s conduct left something to be desired, or even whether

some comments would have been better left unsaid,’ but rather to ‘determine whether the judge’s

behavior was so prejudicial that it denied [Defendants] a fair, as opposed to perfect, trial.’”20

Thus, the Court “examine[s] the record ‘to determine if jurors have been impressed with the trial

judge’s partiality to one side to the point that this became a factor in the[ir] determination.’”21

Additionally, “judicial remarks during the course of a trial that are critical or disapproving of, or

even hostile to, counsel, the parties, or their case, ordinarily do not support a bias or partiality

challenge.”22 Further, “[n]ot establishing bias or partiality . . . are expressions of impatience,

dissatisfaction, annoyance, and even anger, that are within the bounds of what imperfect men and

women, even after having been confirmed as federal judges, sometimes display. A judge’s

ordinary efforts at courtroom administration—even a stern and short-tempered judge’s ordinary

efforts at courtroom administration—remain immune.”23

        Under this standard, the Court cannot find that the Court’s behavior was so prejudicial

that it denied Defendants a fair trial. The Courts’ efforts were focused on courtroom


        19
             Id. (quoting United States v. Pinkey, 548 F.2d 305, 308 (10th Cir. 1977)).
        20
             Id. (quoting Logan, 998 F.2d at 1029) (internal quotation marks and citations omitted).
        21
         Id. (quoting United States v. Leslie, 103 F.3d 1093, 1104 (2d Cir. 1997)) (internal
quotation marks and citation omitted).
        22
             Liteky v. United States, 510 U.S. 540, 555 (1994).
        23
             Id.

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administration, in particular ruling on objections raised by the parties and ensuring a proper

transcript of the proceedings. The Court finds no error in the way it handled these matters.

Further, the Courts comments were few and far between, and “were but minor incidents which

did not affect the substantial rights of the defendant.”24 Finally, these comments did not indicate

a belief in defendant’s guilt.25

        Defendants point to numerous cases where appellate courts have reversed and remanded

for a new trial as a result of improper conduct on the part of the trial judge.26 A review of these

cases shows that the conduct of the Court in this case is nowhere near the level of those judges in

the cases cited by Defendants in support of their motion. Defendants have not shown any bias on

the part of the Court which may have influenced the jury. While it is true that interruptions

during closing arguments should be approached with caution,27 Defendants have not shown that

caution was not taken by counsel or the Court. This case is more like United States v.

Rosenfeld,28 where “[t]he actions complained of consisted of interruptions of the defendant’s

closing argument and the administering of mild admonitions.”29 The Tenth Circuit held that it

was not error for the court to deny the motion for mistrial and that it was “impossible to conclude



        24
             United States v. Welch, 745 F.2d 614, 621 (10th Cir. 1984).
        25
             United States v. Buchanan, 787 F.2d 477, 487 (10th Cir. 1986).
        26
        Bursten v. United States, 395 F.2d 976, 984 (5th Cir. 1968); United States v. Coke, 339
F.2d 183, 185 (2d Cir. 1964); Gudger v. United States, 314 F.2d 268, 269 (D.C. Cir. 1962);
Peckham v. United States, 210 F.2d 693, 702 (D.C. Cir. 1953).
        27
             United States v. Young, 470 U.S. 1, 13 (1985).
        28
             545 F.2d 98 (10th Cir. 1976).
        29
             Id. at 103.

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that this constituted error calling for a mistrial.”30 For these reasons, Defendants’ Motion for

Judgment of Acquittal will be denied.

                                   II. MOTION FOR NEW TRIAL

A.      STANDARD

        Fed.R.Crim.P. 33(a) states that “[u]pon the defendant’s motion, the court may vacate any

judgment and grant a new trial if the interest of justice so requires. . . .” “In other words, if after

weighing the evidence and the credibility of the witnesses, the court determines that ‘the verdict

is contrary to the weight of the evidence such that a miscarriage of justice may have occurred,’ it

may grant the defendant’s motion.”31 “A motion for a new trial is not regarded with favor and is

only issued with great caution.”32

B.      DISCUSSION

        For the same reasons that the Court has denied Defendants’ Motion for Judgment of

Acquittal, the Court will deny Defendants’ Motion For New Trial. Defendants have simply not

shown that their convictions were contrary to the weight of the evidence.

                         III. DEFENDANT ERICKSON’S PRO SE MOTION

        Defendant Erickson has filed a pro se Motion for Dismissal, Acquittal, and in the

Alternative, a New Trial. Defendant argues that evidence was suppressed by the government in

violation of Brady v. Maryland33, that the Court suppressed evidence, and that her counsel was


        30
             Id.
        31
        United States v. Gabaldon, 91 F.3d 91, 93–94 (10th Cir. 1996) (quoting United States v.
Evans, 42 F.3d 586, 593 (10th Cir. 1994)).
        32
             United States v. Herrera, 481 F.3d 1266, 1269–70 (10th Cir. 2007).
        33
             373 U.S. 83 (1963).

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ineffective.

       However, in reading Defendant’s Motion and after oral argument, it is clear that

Defendant is essentially attempting to retry the case. Defendant disagrees with the way her

attorney and the government’s attorneys handled the case and took this opportunity to present

evidence that was not presented to the jury. Most of the evidence Defendant discusses concerns

the investigation, which the Court has previously ruled is irrelevant and more prejudicial than

probative. The Court finds no Brady violation and the evidence presented at oral argument is not

even close to proving such a violation.

       The greatest problem with Defendant’s Motion is that it is untimely. Under Rule

29(c)(1), “[a] defendant may move for a judgment of acquittal, or renew such a motion, within 7

days after a guilty verdict or after the court discharges the jury, whichever is later.”34 The jury

returned its verdict and was discharged on January 26, 2007. Defendant’s Motion was not filed

until July 6, 2007, nearly six months after the jury verdict was delivered and the jury was

discharged.

       Under Rule 33, “[w]ith the exception of newly discovered evidence claims, a defendant’s

new trial motion based upon other grounds must be raised within seven days following the

verdict.”35 “The time limitations imposed by Rule 33 are jurisdictional in nature.”36 Again, the

jury verdict was returned on January 26, 2007, and Defendant’s Motion was not filed until July



       34
            Fed.R.Crim.P. 29(c)(1) (emphasis added).
       35
         United States v. Quintanilla, 193 F.3d 1139, 1148 (10th Cir. 1998) (emphasis added).
See also Fed.R.Crim.P. 33(b)(2) (“Any motion for a new trial grounded on any reason other than
newly discovered evidence must be filed within 7 days after the verdict or finding of guilty.”).
       36
            Id.

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6, 2007. While Defendant does allege that evidence was not presented to the Court and to the

jury, she does not allege that this is new evidence. On the contrary, Defendant’s Motion shows

that she knew full well of this evidence at the time of trial. As a result, Defendant’s Motion is

untimely and the Court lacks jurisdiction to consider it. Therefore, Defendant Erickson’s Motion

will be denied.

     IV. DEFENDANTS’ REQUEST FOR LEAVE TO FILE SUPPLEMENTARY MEMO

         Defendants also filed a Motion Requesting Leave to File a Supplementary

Memorandum.37 Defendants contend that the government violated their due process rights by

dismissing Mr. Wade Slaugh before he testified at trial. Defendants contend that Mr. Slaugh has

exculpatory evidence that was not disclosed prior to trial and that the government wrongfully

dismissed him in an attempt to hide that evidence. On July 22, 2007, Mr. Slaugh executed an

affidavit outlining the facts known to him. Plaintiffs filed a response objecting based on the time

limits previously discussed or, in the alternative, requesting an evidentiary hearing on the matter.

         As to the time limits, under Rule 33, “any motion for a new trial grounded on newly

discovered evidence must be filed within 3 years after the verdict or finding of guilty.”38 The

verdict was returned on January 26, 2007, therefore this motion is well within the three-year time

limit.

         On October 5, 2007, the Court held an evidentiary hearing where Mr. Slaugh was

examined in order to evaluate the potentially exculpatory evidence, as asserted by Defendants.

         “A defendant who seeks a new trial under Rule 33 based on an alleged Brady violation



         37
              Docket No. 141.
         38
              Fed. R. Crim. P. 33(b)(1).

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must show that (1) the prosecution suppressed evidence; (2) the evidence was favorable to the

defendant; and (3) the evidence was material.”39 Under Brady, evidence is material if there is a

reasonable probability that if the evidence had been disclosed to the defense, the result of the

proceeding would have been different.40

       Defendants were unable to show to the Court’s satisfaction that the elements under Brady

were met. Defendants questioned Mr. Slaugh at length regarding a written, notarized statement

he made in connection with these proceedings and his experience testifying at trial. Defendants

were unable to show that the evidence at issue was suppressed or that it was material. It is

therefore

       ORDERED that Defendants’ Motion for Acquittal, and in the alternative, Motion for

New Trial (Docket No. 116) is DENIED. It is further

       ORDERED that Defendant Erickson’s pro se Motion for Dismissal, Acquittal, and in the

Alternative, a New Trial (Docket No. 132) is DENIED. It is further

       ORDERED that Defendant Mitchell’s Motion for Leave to File Supplemental

Memorandum (Docket No. 141) is DENIED.

       DATED October 12, 2007.

                                              BY THE COURT:



                                              _____________________________________
                                              TED STEWART
                                              United States District Judge


       39
        U.S. v. Velarde, 485 F.3d 553, 558 (10th Cir. 2007) (citing U.S. v. Quintanilla, 193 F.3d
1139, 1147 & n.10 (10th Cir. 1999) (internal quotations omitted)).
       40
            Id.

                                                 12
